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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )
               Plaintiff,                      )       ORDER
                                               )
       vs.                                     )
                                               )
Adam Michael Brown,                            )        Case No. 1:17-cv-056
                                               )
               Defendant.                      )


       The court was advised by the Pretrial Services Officer on December 20, 2017, that defendant

has been accepted into an inpatient treatment program at Prairie St. John's in Fargo, North Dakota.

Consequently, the court on its own motion DISMISSES the petition for action on defendant's

conditions of pretrial release and quashes the arrest warrant for defendant. That being said, the court

has been informed that defendant has not been very cooperative with the Pretrial Services Officer

(including being verbally abusive) and that he has so far exhibited a poor attitude in his initial hours

at inpatient treatment. If defendant’s attitude does not improve the court will simply remand him

to custody. Defendant’s counsel is ORDERED to discuss with defendant his precarious situation.

       IT IS SO ORDERED.

       Dated this 20th day of December, 2017.

                                                       /s/ Charles S. Miller, Jr.
                                                       Charles S. Miller, Jr., Magistrate Judge
                                                       United States District Court
